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 8                       UNITED STATES DISTRICT COURT
 9                     CENTRAL DISTRICT OF CALIFORNIA
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     SECURITIES AND EXCHANGE                 Case No. 18-4315 DSF (JPRx)
12   COMMISSION,
                                             ORDER GRANTING SECOND
13               Plaintiff,                  INTERIM FEE APPLICATION OF
14                                           HOLLAND & KNIGHT LLP, AS
           vs.                               COUNSEL TO RECEIVER, FOR
15                                           ALLOWANCE OF COMPENSATION
     TITANIUM BLOCKCHAIN                     AND REIMBURSEMENT OF
16   INFRASTRUCTURE SERVICES,                EXPENSES
     INC.; EHI INTERNETWORK AND
17   SYSTEMS MANAGEMENT, INC.
18   aka EHI-INSM, INC.; and MICHAEL
     ALAN STOLLERY aka MICHAEL
19   STOLLAIRE,
20               Defendants.
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                 ORDER RE SECOND INTERIM FEE APPLICATION
                        OF COUNSEL FOR RECEIVER
 Case 2:18-cv-04315-DSF-JPR Document 106 Filed 09/08/21 Page 2 of 2 Page ID #:2007




 1         The Court, having considered the unopposed Second Interim Fee Application of
 2   Holland & Knight LLP, as Counsel to Receiver, for Allowance of Compensation and
 3   Reimbursement of Expenses filed by Holland & Knight LLP (H&K), counsel to Josias
 4   Dewey, as Court-appointed Receiver for the estates of Defendant Titanium Blockchain
 5   Infrastructure Services, Inc. and its subsidiaries and affiliates (collectively, the
 6   Receivership Entities), and finding good cause, orders as follows:
 7         IT IS ORDERED that the Application of H&K is granted.
 8         IT IS FURTHER ORDERED that H&K’s fees and expenses for the Second
 9   Application Period are allowed and approved, on an interim basis, in the amounts of
10   $138,865.27 for attorney’s fees and $16,734.49 for expenses, which totals $155,599.76.
11         IT IS FURTHER ORDERED that the Receiver is authorized and directed at this
12   time to pay H&K $155,599.76 in fees and expenses from assets of the Receivership
13   Entities.
14         IT IS SO ORDERED.
15   DATED: September 8, 2021
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                                              Honorable Dale S. Fischer
17                                            UNITED STATES DISTRICT JUDGE
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                    ORDER RE SECOND INTERIM FEE APPLICATION
                           OF COUNSEL FOR RECEIVER
